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 5 KEN SARNA

 6
                                      IN THE UNITED STATES DISTRICT COURT
 7
                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                           CASE NO. 2:10CR00327-003
10
                                        Plaintiff,       STIPULATION AND ORDER TO CONTINUE
11                                                       RESTITUTION HEARING SCHEDULED FOR
                                v.                       OCTOBER 1, 2015 AT 9:30 A.M. TO OCTOBER
12                                                       8, 2015 AT 9:30 A.M.
     KEN SARNA, et. al.,
13                                                       DATE: OCTOBER 8, 2015
                                        Defendant.       TIME: 9:30 A.M.
14                                                       JUDGE: TROY L. NUNLEY

15

16                                                   STIPULATION

17           A restitution hearing is currently set in this case for October 1, 2015 at 9:30 a.m. The United
18 States of America, by and through Assistant United States Attorney Michele M. Beckwith and Ken

19
     Sarna, by and through his counsel Joseph Welch, respectfully request that the Court continue that
20
     hearing to October 8, 2015, at 9:30 a.m., for the following reasons:
21
             Since the last appearance, the parties have been meeting and conferring regarding the restitution
22

23 amount and are close to reaching an agreement, but the parties require additional time to conclude this

24 process. The parties would like to move the restitution hearing to October 8, 2015.

25           To the extent that this continuance of the restitution hearing would exceed the 90-day period
26 provided in 18 U.S.C. § 3664(d)(5) as any defendant, the defendant waives any rights to contest the

27
     restitution order based on such delay.
28

      Stipulation to Continue Restitution                 1
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 1

 2 IT IS SO STIPULATED.

 3
     DATED: September 28, 2015                  BENJAMIN B. WAGNER
 4                                              United States Attorney

 5                                              /s/ Joseph A. Welch for
                                                MICHELE M. BECKWITH
 6                                              Assistant United States Attorney

 7                                              For the UNITED STATES OF AMERICA

 8
     DATED: September 28, 2015                  /s/ Joseph A. Welch
 9                                              JOSEPH A. WELCH
                                                Attorney at Law
10                                              For defendant KEN SARNA

11

12                                          ORDER

13
     Date; September 29, 2015
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                                                    Troy L. Nunley
17                                                  United States District Judge

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      Stipulation to Continue Restitution       2
